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      FRANZELAU DRATCH
      A Professional Corporation
     354 Eisenhower Parkway
     Livingston, New Jersey 07039
     (973) 992—3700
     Attorneys for Defendant

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



     UNITED STATES OF AMERICA
                                                 Criminal No.     l0—722(SRC)
                         Plaintiff,

     vs.                                                  ORDER

     STEVIE BUCKUSE

                         Defendant.



           This matter being opened to the Court by a             letter

     submission dated December 6,        2010,   by Stephen N.    Dratch,    Esq.

     of Franzblau Dratch,      P.C.,   attorneys for the defendant,         Stevie

     Buckuse,   seeking modification of the Order Setting Conditions

     of Release from home incarceration with electronic monitoring

     to home detention with electronic monitoring,           upon notice to

     Assistant United States Attorney Rodney Villazor of the United

     States Attorney’s Office for the District of New Jersey,               and

     Pretrial Services Officer Jennifer Pace of the United States

     Pretrial Services Office for the District of New Jersey, both

     having consented to the requested modification of the Order

     Setting Conditions of Release,       and the Court having considered

     the request,   and for good cause being shown,
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